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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

 OHIO SECURITY INSURANCE COMPANY, :                  CIVIL ACTION
                 Plaintiff        :
                                  :                  NO. 1:22-cv-05677-MKV
            v.                    :
                                  :
 PREMIUM FOOD GROUP, INC. and NUT :
 CRAVINGS, INC.,                  :
                 Defendants       :


NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FEDERAL RULE OF CIVIL
                     PROCEDURE 41(a)(1)(A)(i)

       Plaintiff Ohio Security Insurance Company, by and through its attorneys, hereby

dismisses, without prejudice, all claims asserted against Defendants Premium Food Group, Inc.

and Nut Cravings, Inc. pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

       As of the time of the filing of this Notice, no responsive pleading to the Complaint of

Plaintiff Ohio Security Insurance Company has been filed or served by Defendants Premium

Food Group, Inc. and Nut Cravings, Inc.

                                            POST & SCHELL, P.C.


Dated: 07/5/2022                            By:    s/John C. Sullivan
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                                                   Ohio Security Insurance Company
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                              CERTIFICATE OF SERVICE

      John C. Sullivan, attorney for plaintiff, Ohio Security Insurance Company, certifies that

on this 5th day of July 2022, he caused the attached Notice of Voluntary Dismissal to be

electronically filed with the Court. Service of same will be made upon all counsel via the

Court’s ECF system.



                                                         s/John C. Sullivan
                                                         John C.Sullivan
